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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES -REOPENING/CLOSING

Case No. 2:12-cv-08051-RGK-MRW                                    Date September 12, 2018

Title: HECTOR NAVARRO, et al. v. MERCEDES BENZ OF ENCINO

Present: The Honorable R. GARY KLAUSNER, U.S. District Judge




                Sharon Williams                                        Not Reported
                Deputy Clerk                                     Court Reporter / Recorder


Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
Not Present                                        Not Present




Proceedings:    G In Court          ✘ In Chambers
                                    G                   G Counsel Notified

G Case previously closed in error. Make JS-5.

✘ Case should have been closed on entry dated 07/27/2018 DE 85
G                                                                        .

G Case settled but may be reopened if settlement is not consummated within                        days.
  Make JS-6.

G Other

G Entered                                  .




                                                                  Initials of Preparer       sw




CV-74 (10/08)                       CIVIL MINUTES -REOPENING/CLOSING
